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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS

USA,                                  )
                                      )
                     Plaintiff,       )
                                      )            Case No. 20 CR 825-1
             v.                       )
                                      )            Magistrate Judge Harjani
Jose Luis Oliva,                      )
                                      )
                     Defendants.      )


                                      ORDER

Arraignment proceedings held. With the consent of the defendant, upon advice of
counsel, and pursuant to the CARES Act, all parties appeared by telephone
conference. Defendant informed of his rights. Defendant acknowledges receipt of
the Indictment, waives formal reading and enters a plea of not guilty. Rule 16.1(a)
conference to be held by 3/10/2021. Pretrial motions due 3/31/2021. Status
hearing before Judge Seeger is set for 4/9/2021 at 10:00 a.m. Government moves
for exclusion of time under the Speedy Trial Act, without objection from defendant.
For the reasons stated in open court, the Court finds that time shall be excluded
through and including 4/9/2021 pursuant to 18 U.S.C. § 3161(h)(1)(D) and (h)(7)
because the ends of justice served by the granting of such continuance outweigh
the best interests of the public and the defendant in a speedy trial.        (X-T)


Date: 3/3/2021
                                           United States Magistrate Judge




Time: 10 min
